Case 2:19-cv-00038-CB Document1-1 Filed 12/21/18 Page 1 of 49

Court of Common Pleas of Philadelphia County

 

   
 
  
  
  
  
  
 
 
  

‘ Trial Division
_ Civil: Cover Sheet —

PLAINTIFF'S NAME ~ _ — , DEFENDANT'S NAME

NIKOLIN KUTROLLI DEWAYNE LOGAN
PLAINTIFF'S ADDRESS. Drees" =" DEFENDANT'S ADDRESS ”

612 LOWELL STREET 1074 SEDAN CRABTREE ROAD #A

PEABODY MA 01960 LUCASVILLE OH 45658
PLAINTIFPS NAME nn DEFENDANT'S NAME

GARIP KUTROLLI OMAR VANCE
PLAINTIFFS ADDRESS DEFENDANTS ADDRESS _ - a ,
25 WHIPPOORWILL ROAD 99 N, MAIN STREET

OLD LYME CT 06371 PEEBLES OH 45660
PLAINTIFFSNAME = sss END ANTS NAME _

VALENTINA KUTROLLI NANCY VANCE

Soe . ccc eee eee i ene eee mete nen

PLAINTIFE'S ADDRESS DEFENDANT'S ADDRESS

25 WHIPPOORWILL ROAD 1645 LOUISVILLE ROAD

OLD LYME CT 06371 SEAMAN OH 45679
TOTAL NUMBER OF PLAINTIFFS. TOTAL NUMBER OF DEFENDANTS

3 5 1) Petition Action C2 Notice of Appcal
‘ Transfer From Other Jurisdictions
AMOUNT INCONTROVERSY COURT PROGRAMS — oO
oO C1 arbitration Commerce (J Settlement
$50,000.00 or less ix Jury Minor Court Appeal ( Minors

Tx) More than $50,000.00 C3 Non-Jury. , Statutory Appeals C1 wro/Survival

DC other:
CASE TYPE AND CODE oO
2V - MOTOR VEHICLE ACCIDI

STATUTORY BASIS FOR CAUSE OF ACTION

1S CASE SUBJECT TO
COORDINATION ORDER?
YES NO

DEC 06 2018
M. BRYANT

TO THE PROTHONOTARY:
Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant: NIKOLIN KUTROLLI , GARIP KUTROLLI ,

VALENTINA KUTROLLI
Papers may be served at the address set forth below.

NAME OF PLAINTIFF'S/PETITIONER’S/APPELLANTS ATTORNEY ADDRESS

JOHN M. DODIG , 1845 WALNUT STREET
ole ee ee 6 21ST PLOOR
PHONE NUMBER FAX NUMBER PHILADELPHIA PA 19103
(215) 567-8300 (215) 567-8333

  

SUPREME COURT IDENTIFICATION NO.

| E-MAIL ADDRESS
51092 ' Jdodig@feldmanshepherd.com
SIGNATURE OF FILING ATTORNEY OR PARTY = sssts—=<~*é‘;‘;* CATES
JOHN DODIG Thursday, December 06, 2018, 02:49 pm

~ FINAL COPY (Approved by the Prothonotary Clerk)

= DEFENDANT'S

: a ,

 

 

 
Case 2:19-cv-00038-CB Document 1-1

COMPLETE LIST OF DEFENDANTS:

1. DEWAYNE LOGAN
1074 SEDAN CRABTREE ROAD #A
LUCASVILLE OH 45658

2. OMAR VANCE
99 N. MAIN STREET
PEEBLES OH 45660

3. NANCY VANCE
1645 LOUISVILLE ROAD
SEAMAN OH 45679

4. VICTORY LANE EXPRESS LLC
131 3RD STREET
PEEBLES OH 45660

5. OTS TRUCKING, LLC
1645 LOUISVILLE ROAD
SEAMAN OH 45679

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Feldman, Shepherd, Wohlgelernter Filed ahd AbEested by the

  
 

 

Tanner, Weinstock & Dodig Oneaee ee _ aa
By: John M. Dodig, Esquire/Jason A. Daria, Esquire “ous fare ee
1.D. No. 51092/73360 aa Se
1845 Walnut Street ~
21st Floor
Philadelphia, PA 19103
(215) 567-8306
Attorneys for Plaintiff(s)

NIKOLIN KUTROLLI : COURT OF COMMON PLEAS
612 Lowell Street : PHILADELPHIA COUNTY
Peabody, MA 01960 :

And
GARIP KUTROLLI :
25 Whippoorwill Road : TERM, 2018
Old Lyme, CT 06371

And :
VALENTINA KUTROLLI > NO,

25 Whippoorwill Road
Old Lyme, CT 06371

Vv.

DEWAYNE LOGAN
1074 Sedan Crabtree Road, #A
Lucasville, OH 45648
And
OMAR VANCE
99 N. Main Street
Peebles, OH 45660
And
Nancy Vance
1645 Louisville Road
Seaman, OH 45679
And
Victory Lane Express LLC
131 3 Street
Peebles, OH 45660
And
OTS Trucking, LLC
1645 Louisville Road
Seaman, OH 45679

Case ID: 181200754

 

 
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NOTICE TO PLEAD

NOTICE

You have been sued in court. I you wish to defend
against the claims set forth in the following pages, you must take
action within twenty (20) days aker this complaint and notice are
served, by entering a written appearance personally or by
attorney and filing in writing with the court your defense or
objections to the claim set forth against you,

You are warned that if you fail to do so the case may
procead without you and u judgment may be entered against you
hy the court without further notice for any money claimed in the
complaint or for any other claim or relief requested by the
Plaintiff. You may lose money or property or other rights
important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT
ONCE. IF YOU DO NOT HAVE A LAWYER OR CANNOT
AFFORD ONE, GO TO OR TELEPHONE THE OFFICE SET
FORTH BELOW TO FIND OUT WHERE YOU CAN GET
LEGAL HELP
LAWYER REFERENCE SERVICE
ONE READING CENTER
PHILADELPHIA, PA 19107
(215) 238-1701

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Le han demandada a asted on la certe, Si desen delendorseceiv ra tae
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SERVICIO DE REBRENCIA LEGAL

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Case 1D: 181200754

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 5 of 49

Feldman, Shepherd, Wohligelernter
Tanner, Weinstock & Dodig
By: John M. Dodig, Esquire/Jason A. Daria, Esquire
1.D. No. 51092/73360
1845 Walnut Street
21st Floor
Philadelphia, PA 19103
(215) 567-8300
Attorneys for Plaintiff(s)

 

NIKOLIN KUTROLLI : COURT OF COMMON PLEAS
612 Lowell Street : PHILADELPHIA COUNTY
Peabody, MA 01960 :

And
GARIP KUTROLLI
25 Whippoorwill Road ; TERM, 2018
Old Lyme, CT 06371 :

And :
VALENTINA KUTROLLI > NO,
25 Whippoorwill Road ;
Old Lyme, CT 06371

Vv.

DEWAYNE LOGAN
1074 Sedan Crabtree Road, #A
Lucasville, OH 45648
And
OMAR VANCE
99 N. Main Street
Peebles, OH 45660
And
NANCY VANCE
1645 Louisville Road
Seaman, OH 45679
And
VICTORY LANE EXPRESS LLC
131 3” Street
Peebles, OH 45660
And
OTS TRUCKING, LLC
1645 Louisville Road
Seaman, OH 45679

Case 1D: 1812007544

 

 
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COMPLAINT - CIVIL ACTION

1. Plaintiff, Nikolin Kutrolli, is an adult individual who resides at 612 Lowell
Street, Peabody, Massachusetts 01960.

2. Plaintiff, Garip Kutrolli, is an adult individual who resides at 25 Whippoorwill
Road, Old Lyme, Connecticut 06371.

3. Plaintiff, Valentina Kutrolli, is an adult individual who resides at 25
Whippoorwill Road, Old Lyme, Connecticut 06371.

4, Defendant, Dewayne Logan, is an adult individual who resides at 1074
Sedan Crabtree Road, #A, Lucasville, Ohio 45658.

5, Defendant, Omar Vance, is an adult individual who resides at 99 N. Main
Street, Peebles, Ohio 45660 and also a business address of 1645 Louisville Road,
Seaman, Ohio 45679.

6. Defendant, Nancy Vance, is an adult individual with a business address of
1645 Louisville Road, Seaman, Ohio 45679.

7. Defendant, Victory Lane Express LLC, is a corporation and/or business
entity with a place of business located at 131 3” Street, Peebles, Ohio 45660.

8. Defendant, OTS Trucking, LLC, is a corporation and/or business entity with
a place of business located at 1645 Louisville Road, Seaman, Ohio 45679.

9. At all times relevant hereto, Defendant, Dewayne Logan, was an employee

and actual or apparent agent of the Defendants, Omar Vance, Nancy Vance, Victory

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Lane Express LLC and/or OTS Trucking, LLC, and was acting in the course and scope of
his employment and agency with the Defendants, Omar Vance, Nancy Vance, Victory
Lane Express LLC and/or OTS Trucking, LLC.

10.  Atall relevant times, Defendants, Victory Lane Express LLC and OTS
Trucking, LLC, regularly conducted and continues to regularly conduct business in the
Commonwealth of Pennsylvania and Philadelphia County, Pennsylvania.

11. OnDecember 17, 2016, at approximately 8:20 a.m., Plaintiff, Nikolin
Kutrolli, was the operator of a motor vehicle, with Plaintiffs, Garip and Valentina Kutrolli
being passengers in said vehicle, traveling on |-70 in Sewickley Township, Westmoreland
County, Pennsylvania when Plaintiffs’ vehicle was struck by the vehicle being operated
by the Defendant, Dewayne Logan, and owned by the Defendants, Omar Vance, Nancy
Vance, Victory Lane Express LLC and/or OTS Trucking, LLC, causing Plaintiffs to sustain
serious and permanent personal injuries more specifically set forth below.

12. Atthe time of the accident, Defendant, Dewayne Logan, was employed by
the Defendants, Omar Vance, Nancy Vance, Victory Lane Express LLC and/or OTS
Trucking, LLC. Upon information and belief, Defendant, Dewayne Logan, was acting in
the course and scope of his employment at the time of the accident.

13. The accident as aforesaid was caused by the negligence of the Defendants
and was in no manner whatsoever due to any act or failure to act on the part of the
Plaintiffs.

14. The carelessness, recklessness and negligence of the Defendants included

the following:

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a. Operating the said motor vehicle at a high and excessive rate of
speed under the circumstances;

b. Failure to keep a proper lookout ahead;

C. Failure to have said motor vehicle under such control as to be able to
stop within the assured clear distance ahead;

d. Failure to make proper observations of traffic upon the roadway;
e. Failure to properly use the brakes;

f. Being otherwise negligent under the circumstances;

g. Operating a motor vehicle in careless disregard for the safety of

persons or property in violation of 75 Pa.C.S.A, §3714;
h. Careless and reckless driving;
i. Failure to slow and stop for slowing traffic ahead;

j. Failure to be aware of and properly react to roadway and traffic
conditions, including an accident ahead and icy road conditions;

k. Failure to control Defendant's commercial vehicle under the existing
circumstances, including the weather and icy road conditions;

Failure to comply with the motor vehicle and commercial motor
vehicle cade, law, and regulations of the Commonwealth of
Pennsylvania;

m. Failure to comply with Federal code, law, and regulations, including
the Motor Carrier Safety Administration regulations;

n. Failure to comply with industry standards;

oO. Failure to properly hire, train, retain, supervise and monitor
Defendant's driver, Dewayne Logan;

p. Failure to create, implement, and enforce appropriate policies and

procedures concerning the inspection, maintenance, and operation
of a commercial motor vehicle;

Case ID): 181200754

 

 
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q. Failure to comply with company policies and procedures concerning
the inspection, maintenance and operation of a commercial motor
vehicle; and

r. Failure to properly inspect and maintain the commercial motor
vehicle.

COUNT!

NIKOLIN KUTROLLI V. DEFENDANTS

15. Plaintiff incorporates by reference paragraphs 1 through 14 as though same
were fully set forth herein at length.

16. As a direct and proximate result of the negligence of the Defendants as
aforesaid, Plaintiff, Nikolin Kutrolli, sustained severe and permanent injuries that include,
but are not limited to: axial lower back pain and left L5 and/or S1 radiculopathy and
myofascial pain, as well as damage to his nerves and nervous system.

17. All of the aforesaid injuries are permanent and have imposed a serious
impairment of a body function upon the Plaintiff and have caused, and in the future will
cause the Plaintiff great pain and suffering and a serious impairment of a bodily function.

18. Asa further result of this accident and by reason of the injuries sustained,
Plaintiff has in the past been obligated to receive and undergo medical attention and care
and to expend various sums of money and/or incur various expenses for the injuries he
has suffered, and he may in the future continue to be obliged to expend such sums or to
incur such expenses.

19. Asa further result of this accident and by reason of the injuries suffered,
Plaintiff has in the past suffered and may in the future continue to suffer great pain, agony,

mental anguish, embarrassment and humiliation, and has in the past been hindered and

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may in the future continue to be hindered from attending to his daily duties, functions and
occupation, to his great detriment and loss.

20. Asa further direct and proximate result of the negligence of the Defendants,
Plaintiff has suffered injuries which have caused him physical and mental impairment,
preventing him from performing all or substantially all of the material acts and duties
which constitute his usual and customary daily activities, constituting a loss of the
enjoyment of the ordinary pleasures of life.

21. Asa further result of this accident and by reason of the injuries sustained,
Plaintiff has sustained an impairment of his earning capacity and power.

22. The negligence of the Defendants as stated herein was the proximate
cause or a substantial factor in causing the injuries and damages sustained by the
Plaintiff.

WHEREFORE, Plaintiff, Nikolin Kutrolli, demands judgment against the
Defendants in a sum in excess of Fifty Thousand ($50,000.00) Dollars, together with
interest and costs.

COUNT II
GARIP KUTROLLI V. DEFENDANTS

23. Plaintiff incorporates by reference paragraphs 1 through 22 as though same
were fully set forth herein at length.

24. As a direct and proximate result of the negligence of the Defendants as
aforesaid, Plaintiff, Garip Kutrolli, sustained severe and permanent injuries that include,
but are not limited to: right shoulder rotator cuff tear, L5-S1 disk herniation with left S14

nerve root impingement, mild right lateral disk herniation at L4-L5, mild left lateral disk

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herniation at L3-L4, leg, neck and arm pain, as well as damage to his nerves and nervous
system.

25. All of the aforesaid injuries are permanent and have imposed a serious
impairment of a body function upon the Plaintiff and have caused, and in the future will
cause the Plaintiff great pain and suffering and a serious impairment of a bodily function.

26. Asa further result of this accident and by reason of the injuries sustained,
Plaintiff has in the past been obligated to receive and undergo medical attention and care
and to expend various sums of money and/or incur various expenses for the injuries he
has suffered, and he may in the future continue to be obliged to expend such sums or to
incur such expenses.

27. Asa further result of this accident and by reason of the injuries suffered,
Plaintiff has in the past suffered and may in the future continue to suffer great pain, agony,
mental anguish, embarrassment and humiliation, and has in the past been hindered and
may in the future continue to be hindered from attending to his daily duties, functions and
occupation, to his great detriment and loss.

28. Asa further direct and proximate result of the negligence of the Defendants,
Plaintiff has suffered injuries which have caused him physical and mental impairment,
preventing him from performing all or substantially all of the material acts and duties
which constitute his usual and customary daily activities, constituting a loss of the
enjoyment of the ordinary pleasures of life.

29. Asa further result of this accident and by reason of the injuries sustained,

Plaintiff has sustained an impairment of his earning capacity and power.

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30. The negligence of the Defendants as stated herein was the proximate
cause or a substantial factor in causing the injuries and damages sustained by the
Plaintiff.

WHEREFORE, Plaintiff, Garip Kutrolli, demands judgment against the Defendants
in a sum in excess of Fifty Thousand ($50,000.00) Dollars, together with interest and
costs.

COUNT Ill
VALENTINA KUTROLLI V. DEFENDANTS

31. Plaintiff incorporates by reference paragraphs 1 through 30 as though same
were fully set forth herein at length.

32. As a direct and proximate result of the negligence of the Defendants as
aforesaid, Plaintiff, Valentina Kutrolli, sustained severe and permanent injuries that
include, but are not limited to: multilevel disk desiccation, cervical radiculopathy, lumbar
radiculopathy, low back pain, pain in arms and knees, as well as damage to her nerves
and nervous system.

33. All of the aforesaid injuries are permanent and have imposed a serious
impairment of a body function upon the Plaintiff and have caused, and in the future will
cause the Plaintiff great pain and suffering and a serious impairment of a bodily function.

34. Asa further result of this accident and by reason of the injuries sustained,
Plaintiff has in the past been obligated to receive and undergo medical attention and care
and to expend various sums of money and/or incur various expenses for the injuries she
has suffered, and she may in the future continue to be obliged to expend such sums or to

incur such expenses.

Case 1D: 181200754

 

 
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35. As a further result of this accident and by reason of the injuries suffered,
Plaintiff has in the past suffered and may in the future continue to suffer great pain, agony,
mental anguish, embarrassment and humiliation, and has in the past been hindered and
may in the future continue to be hindered from attending to her daily duties, functions and
occupation, to her great detriment and loss.

36. Asa further direct and proximate result of the negligence of the Defendants,
Plaintiff has suffered injuries which have caused him physical and mental impairment,
preventing her from performing all or substantially all of the material acts and duties which
constitute her usual and customary daily activities, constituting a loss of the enjoyment of
the ordinary pleasures of life.

37. Asa further result of this accident and by reason of the injuries sustained,
Plaintiff has sustained an impairment of her earning capacity and power.

38. The negligence of the Defendants as stated herein was the proximate
Cause or a substantial factor in causing the injuries and damages sustained by the
Plaintiff.

WHEREFORE, Plaintiff, Valentina Kutrolli, demands judgment against the
Defendants in a sum in excess of Fifty Thousand ($50,000.00) Dollars, together with
interest and costs.

COUNT IV
GARIP KUTROLLI V. DEFENDANTS

39. Plaintiff incorporates by reference paragraphs 1 through 38 as though same
were fully set forth herein at length.

40. Plaintiff, Garip Kutrolli, is the husband of Plaintiff, Valentina Kutrolli.

Case ID: 181200754

 

 
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41. Asaresult of Defendants’ negligence and carelessness, as set forth above,
Plaintiff, Garip Kutrolli, has been deprived of his wife’s consortium, care, services,
comfort, society, affection and support.

WHEREFORE, Plaintiff, Garip Kutrolli, demands judgment against the Defendants
in a sum in excess of Fifty Thousand ($50,000.00) Dollars, together with interest and

costs.

COUNT V
VALENTINA KUTROLLI V. DEFENDANTS

42. Plaintiff incorporates by reference paragraphs 1 through 41 as though same
were fully set forth herein at length.

43. Plaintiff, Valentina Kutrolli, is the wife of Plaintiff, Garip Kutrolli.

44. Asaresult of Defendants’ negligence and carelessness, as set forth above,
Plaintiff, Valentina Kutrolli, has been deprived of her husband's consortium, care,
services, comfort, society, affection and support.

WHEREFORE, Plaintiff, Valentina Kutrolli, demands judgment against the
Defendants in a sum in excess of Fifty Thousand ($50,000.00) Dollars, together with

interest and costs.

  
 

Feldman, Shepherd, Wo

. (LA
By:

HN M. DODIG, SQUIRE
JASON A. DARIA, ESQUIRE
Attorneys for Plaintiffs

Case 1D: 181200754

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 15 of 49

VERIFICATION

I, Nikolin Kutrolli, hereby state that | am one of the Plaintiffs in this action and verify
that the statements made in the foregoing Civil Action Complaint are true and correct to
the best of my knowledge, information and belief. The undersigned understands that the

statements therein are made subject to the penalties of 18 Pa.C.S. Section 4904 relating

to unsworn falsification to authorities. _ .
Nikolin Kutrolli
Date: iy {4 [201

 

Case ID: 181200754

 

 
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VERIFICATION

|, Valentina Kutrolli, hereby state that | am one of the Plaintiffs in this action and
verify that the statements made in the foregoing Civil Action Complaint are true and
correct to the best of my knowledge, information and belief. The undersigned
understands that the statements therein are made subject to the penalties of 18 Pa.C.S.
Section 4904 relating to unsworn falsification to authorities.

Valen 4 N& Kiutrulh

Valentina Kutrolli

Date: {1-19- 2018

Case ID: 181200754

 

 

 
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VERIFICATION

|, Garip Kutrolli, hereby state that | am one of the Plaintiffs in this action and verify
that the statements made in the foregoing Civil Action Complaint are true and correct to
the best of my knowledge, information and belief. The undersigned understands that the
statements therein are made subject to the penalties of 18 Pa.C.S. Section 4904 relating
to unsworn falsification to authorities.

Las Ect’. :
Gafip Kutrolli

Date: 7#/— 19~ 2 a (S

Case ID: 181200754

 

 
Case 2:19-cv-00038-CB Document 1-1

PION, NERONE, GIRMAN, WINSLOW
& SMITH, P.C.

James DeCinti, Esquire

jdecinti@pionlaw.com

Pa. LD. No. 77421

John T. Pion, Esquire

jpion@pionlaw.com

Pa. I.D. No. 43675

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Pittsburgh, PA 15222

(412) 281-2288

Attorneys for Defendants

 

NIKOLIN KUTROLLI, GARIP KUTROLLI,
AND VALENTINA KUTROLII,

Plaintiffs,

vs.
DEWAYNE LOGAN, OMAR VANCE,
NANCY VANCE, VICTORY LANE
EXPRESS, LLC AND OTS TRUCKING, LLC

Defendants.

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COURT OF COMMON PLEAS
PHILADELPHIA COUNTY

CIVIL DIVISION

Term 2018

Case ID: 181200754

DEFENDANT’S

 

Case ID: 181200754

 

 
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IN THE COURT OF COMMON PLEAS OF
PHILADELPHIA COUNTY, PENNSYLVANIA

CIVIL DIVISION
NIKOLIN KUTROLLI, GARIP KUTROLLI,
AND VALENTINA KUTROLLI,
Plaintiffs, TERM 2018
VS. Case ID: 181200754

DEWAYNE LOGAN, OMAR VANCE,
NANCY VANCE, VICTORY LANE
EXPRESS, LLC AND OTS TRUCKING, LLC

Defendants.

PRAECIPE FOR APPERANCE

Kindly enter the Appearance of James DeCinti, Esquire, John T. Pion, Esquire, Andrew D.
Webster, Esquire and Pion, Nerone, Girman, Winslow & Smith, P.C. on behalf of Defendants
Dewayne Logan, Omar Vance, Nancy Vance, Victory Lane Express, LLC and OTS Trucking,
LLC regarding the above-captioned matter.

Respectfully submitted,

PION, NERONE, GIRMAN, WINSLOW

weap IC

James DeCinti, Esquire

jdecinti@pionlaw.com

John T. Pion, Esquire

jpion@pionlaw.com
Andrew D. Webster, Esquire

awebster@pionlaw.com

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Pittsburgh, PA 15222

(412) 281-2288

Attorneys for Defendants

Case ID: 181200754

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 20 of 49

ATTORNEY CERTIFICATION

I certify that this filing complies with the provisions of the Public Access Policy of the

Unified Judicial System of Pennsylvania: Case Records of the Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents. (i bP uit

DATED: \yAi2//8

Case ID: 181200754

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 21 of 49

CERTIFICATE OF SERVICE

Thereby certify that I served a true and correct copy of the foregoing Entry for Appearance
yyw

was served upon counsel this \Peaay of December, via email, as follows:

John M. Dodig, Esquire
jdodig@feldmanshepherd.com
Feldman Shepherd Wohlgelernter Tanner Weinstock Dodig, LLP
1845 Walnut Street — 21° Floor
Philadelphia, PA 19103
(Counsel for Plaintiffs)

PION, NERONE, GIRMAN, WINSLOW
&S

MITH, P.C. |
By: 4 i wp

Andrew D. Webster, Esquire
Pa. I.D. No. 308337

Case ID: 181200754

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 22 of 49

     
 

Feldman, Shepherd, Wohlgelernter : *
Tanner, Weinstock & Dodig Filed ahd Attested by the
By: John M. Dodig, Esquire/Jason A. Daria, Esquire office pf Judicigl Records
LD. No. 51092/73360
1845 Walnut Street
21st Floor
Philadelphia, PA 19103
(215) 567-8300
Attorneys for Plaintiff(s)

 

NIKOLIN KUTROLLI, > COURT OF COMMON PLEAS
GARIP KUTROLLI AND : PHILADELPHIA COUNTY
VALENTINA KUTROLLI

Vv. DECEMBER TERM, 2018
DEWAYNE LOGAN, OMAR VANCE, NO. 000754

NANCY VANCE, VICTORY LANE
EXPRESS LLC AND OTIS TRUCKING, LLC

AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA °

JOHN M. DODIG, ESQUIRE, being duly sworn according to law, deposes and
says that he is the attorney for the Plaintiffs in the above-captioned matter, and that on
December 10, 2018, a true and correct copy of the Civil Action Complaint filed in the

above matter was served on the Defendant, Dewayne Logan, by Certified Mail. A copy

of the Return Receipt Card and the USPS Tracking Confirmation are attached hereto as

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 23 of 49

Exhibit “A”.

SWORN TO AND SUBSCRIBED

BEFORE ME THIS ayn DAY

oF Detender , 2018.

awl Oper

OTARY PUBLIC

Commonwealth of Pennsylvania - Notary Seal
Christine M. Agster, Notary Public
Philadelphia County
My commission expires June 27, 2022
Commission number 1225107

Membar, Pennsylvania Association of Notaries

 

 

 

 

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 24 of 49

EXHIBIT “A”

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 25 of 49

John M. Dodig
eal Sherehaldar
Sagal Telephone: 215.567.8300
Ole RC)m ode nts
SPAN at31 Direct Fax: 215.599.1318
WEINSTOCK jdodig@feldmanshepherd.com
ple Bi (C) aa Also Member of NJ Bar

 

LL.M In Trial Advocacy; Certified By The
Supreme Court Of New Jersey As A Civil Trial
Attorney

December 7, 2018

Mr. Dewayne Logan

1074 Sedan Crabtree Road
#A

Lucasville, OH 45648

RE:  Nikolin Kutrolli, et al v. Dewayne Logan, et al
Court of Common Pleas, Philadelphia County
December Term, 2018 — No. 000754

Dear Mr. Logan:

Enclosed please find the Civil Action Complaint with regard to the above matter. Please
note you have twenty (20) days in which to file an Answer and/or Entry of Appearance or a
judgment in default may be filed against you.

I suggest that you forward this to your insurance carrier, or attorney if you do not have an
insurance carrier, so that your interests may be protected in this matter.

pee]
(Ke. Z Whe

JOHN M. Dope)
JMD/ky

SENT VIA CERTIFIED MAIL

1845 Walnut Street | 21stFloor {| Philadelphia | Pennsylvania19103 | www.feldmanshepherd.core. , ., ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 26 of 49
USPS.com® - USPS Tracking® Results Page 1 of 2

U SPS Tr a ckin g FAQs > (https://www.usps.com/faqs/uspstracking-faqs.htm)

Track Another Package +

Remove X

Tracking Number: 70180680000085337310

Expected Delivery on
MONDAY

by
10 222" soopme

yoeqpas4

Y Delivered

December 10, 2018 at 2:31 pm
Delivered, Left with Individual
LUCASVILLE, OH 45648

Get Updates \v

 

Text & Email Updates Vv

 

Tracking History

 

Product Information

 

See Less A

https://tools.usps.com/go/TrackConfirmAction Cea 1130181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 27 of 49

SENDER: COMPLETE THIS SECTION

™ Complete items 1, 2, and 3.

m@ Print your name and address on the reverse
so that we can retum the card to you,

@ Attach this card to the back of the maliplece,
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ey

Wa

Mr. Dewayne Logan

1074 Sedan Crabtree Road -

#A
Lucasville, OH 45648

 

UU AR

9590 9402 3975 8079 5930 69

A. Signature
x

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a

COMPLETE THIS SECTION ON DELIVERY

© Agent
0 Addressee

 

B. Received by (Printed Nama)

C. Date of Delivary

 

 

 

D. Is dalivery-eddrass differant from item 1? 0 Yes
if YES, enter delivery address below: Oi No

 

 

 

2. Asiicle Number (Transfer from service label)

 

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Restricted Delivery

 

PS Form 3811, July 2015 PSN 7530-02-000-9053

Domestic Return Receipt |

 

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 28 of 49

  
 
  

Feldman, Shepherd, Wohlgelernter eo pa

Tanner, Weinstock & Dodig Eested by the
By: John M. Dodig, Esquire/Jason A. Daria, Esquire
1.D. No. 51092/73360

1845 Walnut Street

21st Floor

Philadelphia, PA 19103

(215) 567-8300

 

Attorneys for Plaintiff(s)

 

NIKOLIN KUTROLLI, - COURT OF COMMON PLEAS
GARIP KUTROLLI AND : PHILADELPHIA COUNTY
VALENTINA KUTROLLI

V. - DECEMBER TERM, 2018
DEWAYNE LOGAN, OMAR VANCE, NO. 000754

NANCY VANCE, VICTORY LANE
EXPRESS LLC AND OTIS TRUCKING, LLC

AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA °s

JOHN M. DODIG, ESQUIRE, being duly sworn according to law, deposes and
says that he is the attorney for the Plaintiffs in the above-captioned matter, and that on
December 11, 2018, a true and correct copy of the Civil Action Complaint filed in the

above matter was served on the Defendant, OTS Trucking, LLC, by Certified Mail. A

copy of the Return Receipt Card and the USPS Tracking Confirmation are attached

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 29 of 49

hereto as Exhibit “A”.

SWORN TO AND SUBSCRIBED

BEFORE ME THIS iain DAY

OF OQodonbet 2018.
h uote YG.

OTARY PUBLIC ~

 

Commonwealth of Pennsylvania - Notary Seal
Christine M. Agster, Notary Public
Philadeiphla County
My commission expires June 27, 2022
Cammission number 1225107

Member, Pennsylvania Association of Notaries

 

  
 

FELDMAN, ELERNTER

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By / | /

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[Pa DODIG, ESQ\VVIRE

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 30 of 49

EXHIBIT “A”

Case 1D: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 31 of 49

John M. Dodig
FELDMAN Shareholder

SHEPHERD
Telephone: 215.567.8300

TANNER Direct Fax: 215.599.1318
WEINSTOCK jdodig@feldmanshepherd.com

DODIG na Also Member of NJ Bar

LL.M In Trial Advocacy; Certified By The
Supreme Court Of New Jersey As A Civil Trial
Attorney

WOHLGELERNTER

 

December 7, 2018

OTS Trucking, LLC
1645 Louisville Road
Seaman, OH 45679

RE:  Nikolin Kutrolli, et al v. Dewayne Logan, et al
Court of Common Pleas, Philadelphia County
December Term, 2018 — No. 000754

Gentlemen:

Enclosed please find the Civil Action Complaint with regard to the above matter. Please
note you have twenty (20) days in which to file an Answer and/or Entry of Appearance or a
judgment in default may be filed against you.

I suggest that you forward this to your insurance carrier, or attorney if you do not have an
insurance carrier, so that your interests may be protected in this matter.

Very truly yours,

JOHN M. DODIG
JMD/kv

SENT VIA CERTIFIED MAIL

1845 Walnut Street | 21stFloor | Philadelphia | Pennsylvania19103 | www.feldmanshepherd.comce [PD- 181200754

 
 

Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 32 of 49

    
   

SENDER: COMPLETE THIS SECTION

m@ Complete items 1, 2, and 3.

™@ Print your name and address on the reverse
so that we can return the card to you.

* @ Attach this card to the back of the mallplece,

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1A

OTS Trucking, LLC
1645 Louisville Road
, Seaman, OH 45679 ~

HORTA YT

9590 9402 3975 8079 5930 76

 

 

   

C1 Agent
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of
B. Recelved by (PAintad Name) , Date of Delivery
yD. Is dal address differant from item 1? Yes

21 Hh

If YES, anter delivery address below: 1 No

 

 

 

3. Service Type 1 Priority Mail Express®
uit Signature a Regletered Mall™
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Certified Mait® ‘ery
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2. “Article Numb6r (Transfer from service label)

7018 Ob40 OO00 4533 7303

PS Form-3811,. July 2015 PSN 7630-02-000-9053

 

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o Ree Confirmation

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Domestic Return Receipt :-

Case ID: 181200754

 

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 33 of 49
USPS.com® - USPS Tracking® Results Page 1 of 2

U SPS Tr a ckin g FAQs > (hitps://www.usps.com/faqs/uspstracking-faqs.htm)

Track Another Package +

Remove X

Tracking Number: 70180680000085337303

Your item was delivered at 8:56 am on December 11, 2018 in SEAMAN, OH 45679.

( Delivered

December 11, 2018 at 8:56 am

Delivered
SEAMAN, OH 45679

yoeqpes-

Get Updates \Y

 

 

 

Text & Email Updates Yv
Tracking History Vv
Vv

Product Information

 

See Less A

Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3 &text28777=&tLab... Cas71t)20 B8 200754

 

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 34 of 49

      
   

Feldman, Shepherd, Wohlgelernter

Tanner, Weinstock & Dodig

By: John M. Dodig, Esquire/Jason A. Daria, Esquire
1.D. No. 51092/73360

1845 Wainut Street

21st Floor

Philadelphia, PA 19103

(215) 567-8300

Filed and sted by the
Office Bf Judicial Records

18 DEC. 202

 

Attorneys for Plaintiff(s)

 

NIKOLIN KUTROLLI, - COURT OF COMMON PLEAS
GARIP KUTROLL!I AND : PHILADELPHIA COUNTY
VALENTINA KUTROLLI

Vv. - DECEMBER TERM, 2018

DEWAYNE LOGAN, OMAR VANCE, NO. 000754
NANCY VANCE, VICTORY LANE :
EXPRESS LLC AND OTIS TRUCKING, LLC

AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA ss

JOHN M. DODIG, ESQUIRE, being duly sworn according to law, deposes and
says that he is the attorney for the Plaintiffs in the above-captioned matter, and that on
December 11, 2018, a true and correct copy of the Civil Action Complaint filed in the

above matter was served on the Defendant, Nancy Vance, by Certified Mail. A copy of

the Return Receipt Card and the USPS Tracking Confirmation are attached hereto as

Case 1D: 181200754

 

JENNER

 
Case 2:19-cv-00038-CB

Exhibit “A”.

SWORN TO AND SUBSCRIBED

BEFORE ME THIS (" DAY

or (ycontbow) , — 2018.

Chadd bate

NOTARY PUBLIC

Commonwealth of Pennsylvania - Notary Seal
Christine M.Agster, Notary Public
Philadelphia County
My commission expires June 27,2022
Commission number 1225107

Member, Pennsylvania Association of Notarias

 

 

Document 1-1 Filed 12/21/18 Page 35 of 49

 

 

\ JOHDM. DODIG, ESQUIRE

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 36 of 49

EXHIBIT “A”

Case ID: 181200754

 
 

Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 37 of 49

FELDMAN John M. Dodig

Shareholder
SHEPHERD
WOHLGELERNTER Telephone: 215.567.8300
TANNER Direct Fax: 215.599,1318
1/541 eK @ 10.4 idodig@feldmanshepherd.com

DODIG aed Also Member of NJ Bar

. LL.M In Trial Advacacy; Certified By The
Supreme Court Of New Jersey As A Civil Trial
Attorney

 

December 7, 2018

Ms. Nancy Vance
1645 Louisville Road
Seaman, OH 45679

RE: Nikolin Kutrolli, et al v. Dewayne Logan, et al
Court of Common Pleas, Philadelphia County
December Term, 2018 — No. 000754

Dear Ms. Vance:
Enclosed please find the Civil Action Complaint with regard to the above matter. Please
note you have twenty (20) days in which to file an Answer and/or Entry of Appearance or a

judgment in default may be filed against you.

I suggest that you forward this to your insurance carrier, or attorney if you do not have an
insurance carrier, so that your interests may be protected in this matter.

Very truly yours,

JOHN M. DODIG
JMD/kv

SENT VIA CERTIFIED MAIL

1845 Walnut Street | 21stFloor | Philadelphia | Pennsylvania 19103 | www.feldmanshepherd.gomce [[): 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 38 of 49

SENDER: COMPLETE THIS SECTION

 

™ Complete items 1, 2; and 3.
- Print your name and address on the reverse

. 0 that we can return the card to you.

- @ Attach this card to the back of the mailpiece,

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B. Received by (Printed Name) | C. Date of Deliver
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tea

Ms. Nancy Vance
- 1645 Louisville Road 1
_ Seaman, OH 45679

 

D. is delivery address different from item 17 [1 Yes
If YES, enter delivery address below: No

 

 

 

 

 

 

3. Service Type D Priority Mail Express®
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Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 39 of 49
USPS.com® - USPS Tracking® Results Page | of 2

U SPS Tr a ckin g FAQs > (https://www.usps.com/faqs/uspstracking-faqs.htm)

Track Another Package +

Remove X

Tracking Number: 70180680000085337334

Your item was delivered at 8:56 am on December 11, 2018 in SEAMAN, OH 45679.

Y Delivered

December 11, 2018 at 8:56 am

Delivered
SEAMAN, OH 45679

yoeqpaa4

Get Updates \/Y

 

Text & Email Updates
Tracking History

Product Information

See Less Ww

Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLo=3 &text28777=8etLab... C4 4726 F8 200754
 

Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 40 of 49

   
 

Feldman, Shepherd, Wohlgelernter

Tanner, Weinstock & Dodig

By: John M. Dodig, Esquire/Jason A. Daria, Esquire
1.D. No. 51092/73360

1845 Walnut Street

21st Floor

Philadelphia, PA 19103

(215) 567-8300

Filed ahd A sted by the

Office Of

Attorneys for Plaintiff(s)

 

NIKOLIN KUTROLLI, - COURT OF COMMON PLEAS
GARIP KUTROLLI AND : PHILADELPHIA COUNTY
VALENTINA KUTROLLI ;

Vv. - DECEMBER TERM, 2018

DEWAYNE LOGAN, OMAR VANCE, - NO. 000754
NANCY VANCE, VICTORY LANE :
EXPRESS LLC AND OTIS TRUCKING, LLC

AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA °°

JOHN M. DODIG, ESQUIRE, being duly sworn according to law, deposes and
says that he is the attorney for the Plaintiffs in the above-captioned matter, and that on

December 11, 2018, a true and correct copy of the Civil Action Complaint filed in the

above matter was served on the Defendant, Victory Lane Express LLC, by Certified Mail.

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 41 of 49

A copy of the Return Receipt Card is attached hereto as Exhibit “A”.

  
 

FELDMA
TANNER, WEINSTOCG

aA M. DODIG, ESQUIRE

BY

 

SWORN TO AND SUBSCRIBED

BEFORE ME THIS [3"" pay

OF Decor bow 2018.
Chun te

NOTARY PUBLIC

Commonwealth of Pennsylvania - Notary Saal
Christine M. Agster, Notary Public
Philadelphia County
My commission expires June 27, 2022
Commission number 1225107

“Member, Pennsylvania Association of Notaries

 

Case ID: 181200754

 
 

Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 42 of 49

EXHIBIT “A”

Case 1D: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 43 of 49

John M. i
FELDMAN Seno
bola maaan 9 8
WOHLGELERNTER Telephone: 215.567.8300
TANNER Direct Fax: 215.599.1318
WEINSTOCK jdodig@feldmanshepherd.com
DODIG LLP Also Member of NJ Bar

LLM In Trial Advacacy; Certified By The
Supreme Court Of New Jersey As A Civil Trial
Attorney

 

December 7, 2018

Victory Lane Express LLC
131 3™ Street
Peebles, OH 45660

RE: Nikolin Kutrolli, et al v. Dewayne Logan, et al
Court of Common Pleas, Philadelphia County
December Term, 2018 — No. 000754

Gentlemen:
Enclosed please find the Civil Action Complaint with regard to the above matter. Please
note you have twenty (20) days in which to file an Answer and/or Entry of Appearance or a

judgment in default may be filed against you.

I suggest that you forward this to your insurance carrier, or attorney if you do not have an
insurance carrier, so that your interests may be protected in this matter.

Very truly yours,

JOHN M. DODIG
JMD/kv

SENT VIA CERTIFIED MAIL

1845 Walnut Street | 2istFloor | Philadelphia | Pennsylvania 19103 | www.feldmanshepherd.cém ce [D: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 44 of 49

    

SENDER: COMPLETE THIS SECTION

  
    

' ™ Complete items 1, 2, and 3."
@ Print your name and address c on ther reverse
so that we can return the card to you.

Yi Attach this card-to the back of the malipiece,
____oron the front if space permits.

  
 

CY er Accent

© Addresses .
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Victory Lane Express LLC
131 3rd Street

Peebles, OH 45660

 

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© Certified Mall Restricted Delivery -O Return Recelpt for
| Collect on Delivery Merchandise

 

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Ps Form 3811, July 2015 PSN 7530-02-000-9053

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Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 45 of 49

  
 

Feldman, Shepherd, Wohlgelernter

Tanner, Weinstock & Dodig

By: John M. Dodig, Esquire/Jason A. Daria, Esquire
1.D. No. 51092/73360

1845 Walnut Street

21st Floor

Philadelphia, PA 19103

(215) 567-8300

Filed and Attested by the
Office of Judicial Records
18D 33 pm

   

Attorneys for Plaintiff(s)

 

NIKOLIN KUTROLLI, - COURT OF COMMON PLEAS
GARIP KUTROLLI AND - PHILADELPHIA COUNTY
VALENTINA KUTROLLI ;

Vv. - DECEMBER TERM, 2018

DEWAYNE LOGAN, OMAR VANCE, ; NO. 000754
NANCY VANCE, VICTORY LANE :
EXPRESS LLC AND OTIS TRUCKING, LLC

AFFIDAVIT OF SERVICE

COMMONWEALTH OF PENNSYLVANIA
COUNTY OF PHILADELPHIA °s

JOHN M. DODIG, ESQUIRE, being duly sworn according to law, deposes and
says that he is the attorney for the Plaintiffs in the above-captioned matter, and that on

December 11, 2018, a true and correct copy of the Civil Action Complaint filed in the

above matter was served on the Defendant, Omar Vance, by Certified Mail. A copy of

Case 1D: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 46 of 49

the Return Receipt Card is attached hereto as Exhibit “A”.

SWORN TO AND SUBSCRIBED

BEFORE ME THIS |!" pay
OF Decor bex) , 2018.

Chri Vbal

NOTARY PUBLIC

 

Commonwaaith of Pennsylvania - Notary Se
} . al
Christine M, Agster, Notary Public
Philadelphia County
My commission expires June 27, 2022
t Commission number 1226107
Member, Pennsylvania Association of Notarias |

 

TANNER,

 

BY, Aye OE
JOHN M. DODIG, ESQUIRE

Case ID: 181200754

 
 

Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 47 of 49

EXHIBIT “A”

Case ID: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 48 of 49

John M. Dodig
FELDMAN Shareholder

SHEPHERD Telephone: 215.567.8300

TANNER Direct Fax: 215.599.1318
WEINSTOCK jdodig@feldmanshepherd.com

DODIG aa Also Member of NJ Bar

LLM In Trial Advocacy; Certified By The
Supreme Court Of New Jersey As A Civil Trial
Attorney

WOHLGELERNTER

 

December 7, 2018.

Mr. Omar Vance
99 N. Main Street
Peebles, OH 45660

RE: Nikolin Kutrolli, et al v. Dewayne Logan, et al
Court of Common Pleas, Philadelphia County
December Term, 2018 — No. 000754
Dear Mr. Vance:

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I suggest that you forward this to your insurance carrier, or attorney if you do not have an
insurance carrier, so that your interests may be protected in this matter.

Very truly yours,

JOHN M. DODIG
JMD/kv

SENT VIA CERTIFIED MAIL

1845 Walnut Street [ 21stFloor | Philadelphia | Pennsylvania 19103 | www.feldmanshepherd.qomyce [PD: 181200754

 
Case 2:19-cv-00038-CB Document 1-1 Filed 12/21/18 Page 49 of 49

SENDER: COMPLETE THIS SECTION

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_ _M Print your name and address on the reverse. C Agent
so that we can return the card to you. (1 Addrassee_—

"ww Attach this card to the back of the maiipiece, 5 fecal by % Le eat jo, “/ 7M
ore ent If noe wamnlte ‘yer A

7. Arti QW DLT es ALE
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Mr. Omar Vance
99N. Main Street |
Peebles, OH 45660 _ .

LOLA A 2 tat a

 

 

 

 

 

 

 

Ceritied Mall®
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C1 Collect on Dativery Merchandia 1
®. Arilcle Number (Transfer from service label) (2 Collect on Delivery isstiicted Delivery © D Seneture Gentian
7018 Ob480 g000 6533 7341 eatricted Dalivery Restricted Deilvery
_ PS Form 3811, July 2015 PSN 7530-02-000-9053 Domestic Return Receipt ,

 

 

Case ID: 181200754

 
